               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:14-cv-00180-MR
            [CRIMINAL CASE NO. 1:07-cr-00033-MR-DLH-4]


TICO LOMBARD FLEMING,     )
                          )
         Petitioner,      )
                          )              MEMORANDUM OF
    vs.                   )              DECISION AND ORDER
                          )
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

       THIS MATTER is before the Court on an initial review of Petitioner’s

pro se Motion to Vacate, Set Aside or Correct Sentence, which is filed

pursuant to 28 U.S.C. § 2255.      [Doc. 1].    For the reasons that follow,

Petitioner’s Section 2255 motion will be dismissed as successive.

I.     BACKGROUND

       On December 3, 2007, Petitioner was sentenced by the Honorable

Lacy H. Thornburg to a term of 210 months’ imprisonment following

Petitioner’s conviction on one count of conspiracy to possess with intent to

distribute cocaine base, in violation of 21 U.S.C. §§ 846 and 841(a)(1).

[Criminal Case No. 1:07-cr-00033, Doc. 194: Judgment in a Criminal Case].

Petitioner did not appeal from this judgment.


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        Instead, on November 14, 2008, Petitioner filed a timely § 2255

motion and therein raised three claims for ineffective assistance of counsel1

and a claim that his guilty plea was not knowingly and voluntarily entered.

Notably, Petitioner did not seek to vacate his conviction; rather, he merely

sought to be resentenced without the career offender designation. [Civil

Case No. 1:08-cv-00250-MR, Doc. 1-2: Memorandum at 30]. The Court

rejected each of Petitioner’s claims and dismissed his § 2255 motion. [Id.,

Doc. 19: Memorandum of Decision and Order].                     On May 1, 2012, the

Fourth Circuit dismissed Petitioner’s appeal. United States v. Fleming, 472

F. App’x 165 (4th Cir. 2012) (unpublished).               Petitioner filed the present

motion by placing it in the prison mailing system on July 15, 2014. [Doc. 1].

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable

authority and concludes that this matter can be resolved without an

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  In particular, Petitioner claimed that his counsel was ineffective in failing to challenge
the sufficiency of the conspiracy charge, for failing to challenge the Government’s
alleged noncompliance with 21 U.S.C. § 851k, and for failing to challenge the
calculation of his offense level. [Civil Case No. 1:08-cv-00250-MR, Doc. 1-2:
Memorandum].
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evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th

Cir. 1970).

III.     DISCUSSION

         Petitioner contends that he is entitled to relief from his sentence

because he no longer qualifies as a career offender, citing the Fourth

Circuit’s en banc decision in United States v. Simmons, 649 F.3d 237 (4th

Cir. 2011), which was held to apply retroactively on collateral review in

Miller v. United States, 735 F.3d 141 (4th Cir. 2013), and the Fourth

Circuit’s decision in Whiteside v. United States, 748 F.3d 541, reh’g en

banc granted, No. 13-7152, 2014 WL 3377981 (4th Cir. July 10, 2014).

         The Antiterrorism and Effective Death Penalty Act (AEDPA) provides,

in relevant part that “[a] second or successive motion [under Section 2255]

must be certified as provided in Section 2244 by a panel of the appropriate

court of appeals to contain —

         (1) newly discovered evidence that, if proven and viewed in
         light of the evidence as a whole, would be sufficient to establish
         by clear and convincing evidence that no reasonable factfinder
         would have found the movant guilty of the offense; or

         (2) a new rule of constitutional law, made retroactive to cases
         on collateral review by the Supreme Court, that was previously
         unavailable.

28 U.S.C. § 2255(h).



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      The Court notes that Petitioner has already filed an unsuccessful §

2255 motion, and he has provided no evidence that he has obtained the

necessary authorization to file this second § 2255 in which he challenges

the same judgment. Further, after examining Petitioner’s § 2255 motion,

the Court finds Petitioner’s reliance on Miller v. United States, 735 F.3d 141

(4th Cir. 2013) is misplaced. Although the Miller Court held that Simmons

applied retroactively to cases on collateral review, it did not declare that the

Supreme Court had determined that a new constitutional rule of law applied

retroactively so as to satisfy the gatekeeping provision of § 2255(h)(2).

      Likewise, Petitioner is not entitled to the benefit of the recent Fourth

Circuit opinion in Whiteside v. United States, 748 F.3d 541 (4th Cir. 2014).

In that case, the Court held, in a vigorously contested 2-1 decision2, that an

erroneous application of the career offender enhancement could represent

a fundamental miscarriage of justice that was cognizable on collateral

review. The petitioner in Whiteside had never filed a § 2255 motion prior to

the one at issue in that case, and thus, the Court had did not consider (and

in fact, had no reason to consider) whether the provisions of § 2255(h)(2)




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  The Court notes that the Fourth Circuit recently granted the Government’s petition for
rehearing en banc. Whiteside v. United States, 748 F.3d 541, reh’g en banc granted,
No. 13-7152, 2014 WL 3377981 (4th Cir. July 10, 2014).
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would be satisfied such that this issue could be raised in a successive §

2255 motion.

         Based on the foregoing, the Court finds that it is without jurisdiction

to consider the merits of the present Section 2255 motion and it will be

dismissed. See, e.g, In re Vial, 115 F.3d 1192, 1194 (4th Cir. 1997) (en

banc); United States v. Winestock, 340 F.3d 200, 205 (2003).

        Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is

debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).

IV.     CONCLUSION




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      IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion [Doc. 1] is DISMISSED WITHOUT PREJUDICE as a successive

petition.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.
                               Signed: July 28, 2014




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